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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 EDWIN BONTRAGER,

         Plaintiff,
                                                     Case No. 20-cv-611-jdp
    v.

 SAUK COUNTY REGISTER OF
 DEEDS, BRENT BAILEY, AND SAUK
 COUNTY CORPORATION COUNSEL,

         Defendants.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case with prejudice.




         /s/                                             11/9/2020
         Peter Oppeneer, Clerk of Court                        Date
